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           EXHIBIT B
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David Zimmer

From:                               Muino, Daniel P. <DMuino@mofo.com>
Sent:                               Sunday, April 15, 2012 6:54 PM
To:                                 Gene Paige; Oracle MoFo Service List; Oracle-Google@BSFLLP.com
Cc:                                 DALVIK-KVN; dalvik-ks@kslaw.com; GT_Google@gtlaw.com
Subject:                            RE: Oracle's motion to exclude evidence


Gene,

As we just discussed, Michael Jacobs informed Bob Van Nest and Bruce Baber on the phone at 2:30pm today that
Oracle would be filing a motion on this exact subject. We believe that suffices.

Daniel P. Muino
Morrison & Foerster LLP
425 Market Street | San Francisco, CA 94105
415.268.7475 | 415.268.7522 fax
dmuino@mofo.com | www.mofo.com




From: Gene Paige [mailto:EPaige@kvn.com]
Sent: Sunday, April 15, 2012 6:16 PM
To: Oracle MoFo Service List; Oracle-Google (Oracle-Google@BSFLLP.com)
Cc: DALVIK-KVN; dalvik-ks@kslaw.com; GT_Google@gtlaw.com
Subject: Oracle's motion to exclude evidence

Counsel:

       We have received via ECF the motion that Oracle filed at Docket No. 922 to exclude evidence. It
purports to have been made pursuant to the Court’s Orders, including ECF No. 890. ECF No. 890 provides:




       Oracle did not provide any written notice of its intent to file a motion, much less written notice
containing a statement of the relief to be sought and a general description of the subject matter and basis of
motion, by 3 p.m. Pacific today, Sunday, April 15. The motion is therefore improper.

        Please confirm immediately that the motion has been withdrawn, and that any future motions will be
filed only in conformance with the parties’ agreements and the Court’s Orders. Thank you.


Eugene M. Paige
Keker & Van Nest, LLP
633 Battery Street
                                                           1
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San Francisco, CA 94111
(415) 391-5400

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